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                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
                                                                CASE NUMBER
 Dennis Fugnetti
                                                                                   SA CV 19-00847-SK
                                                PLAINTIFF(S)
                              v.
 Bird B Gone Inc et al
                                                                         JUDGMENT ON THE VERDICT
                                                                            FOR THE PLAINTIFF(S)
                                              DEFENDANT(S).




       This action came on for jury trial, the Honorable Steve Kim , U.S. Magistrate
Judge, presiding, and the issues having been duly tried and the jury having duly rendered its verdict,

         IT IS ORDERED AND ADJUDGED that the plaintiff:
Dennis Fugnetti Photography Trust recover of the defendant Bird B Gone, LLC the sum of $1,175,420.18, and that the
action be dismissed on the merits in favor of Plaintiff.




                                                                   Clerk, U. S. District Court



Dated: December 14, 2022                                           By Connie Chung
                                                                     Deputy Clerk




cc: Counsel of record

CV-49 (05/98)                         JUDGMENT ON THE VERDICT FOR THE PLAINTIFF(S)
